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 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
 3

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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-06-021-FVS
 6
                       Plaintiff,

 7
                                                        ORDER DENYING MOTION FOR
                v.                                      REDUCTION
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 9
     ISMAEL MARTINEZ-SOLANO,

10
                       Defendant.

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12        THIS MATTER comes before the Court based upon Ismael Martinez-

13   Solano’s motion for a reduction of his sentence.               He is representing

14   himself.

15        BACKGROUND

16        Judgment was entered on July 21, 2001.               Ismael Martinez-Solano

17   did not appeal.    (His codefendant did.)          On May 14, 2007, Mr.

18   Martinez-Solano filed a motion requesting a two-level downward

19   departure on the ground that, as an illegal alien, he will not be

20   eligible for privileges that otherwise would be available to him while

21   he is imprisoned.

22        RULING

23        Mr. Martinez-Solano’s motion is denied.               Although he

24   characterizes his claim as an equal protection claim, it is not.                    It

25   is a nonconstitutional sentencing issue that could have been presented

26   to the Court of Appeals had he chosen to appeal his sentence.                  By


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 1   failing to appeal, he waived the issue.           See United States v.
 2   Schlesinger, 49 F.3d 483, 485 (9th Cir. 1995) (“nonconstitutional
 3   sentencing errors that have not been raised on direct appeal have been
 4   waived and generally may not be reviewed by way of 28 U.S.C. § 2255").
 5        IT IS HEREBY ORDERED:
 6        Ismael Martinez-Solano’s motion for a reduction of his sentence
 7   (Ct. Rec. 114) is denied.
 8        IT IS SO ORDERED.       The District Court Executive is hereby
 9   directed to enter this order and furnish copies to Mr. Martinez-Solano
10   and to counsel for the government.
11        DATED this     22nd      day of May, 2007.
12
                                   s/ Fred Van Sickle
13                                    Fred Van Sickle
                               United States District Judge
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     ORDER DENYING MOTION FOR REDUCTION - 2
